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                            No. 25-30120


         IN THE UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT


             In re: The Garretson Resolution Group, Inc.,
                              Petitioner


On Petition for Writ of Mandamus from the United States District Court
                 for the Eastern District of Louisiana
                     Civil Action No. 2:24-cv-02156


  MR. PERCY BRYANT’S RESPONSE TO THE GARRETSON
RESOLUTION GROUP’S PETITION FOR WRIT OF MANDAMUS




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               CERTIFICATE OF INTERESTED PERSONS

      The undersigned counsel of record certifies that the following listed

persons and entities, as described in the fourth sentence of Fifth Circuit Rule

28.2.1, have an interest in the outcome of this case. These representations are

made in order that the judges of this court may evaluate possible disqualification

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                              ISSUES PRESENTED

      I.     Federal Rule of Civil Procedure 72(a) and 28 U.S.C. § 636(b)

provide for a district judge review of a magistrate judge’s non-dispositive order.

Garretson never utilized these methods of review of the Magistrate Judge’s

Order. Is Garretson entitled to mandamus relief when it failed to first exercise

its statutory right of review by a district judge?

      II.    A transferor court is deprived of jurisdiction over a case when the

case is transferred and docketed in the transferee court. Garretson moved to alter

or amend a transfer order after the case was transferred and docketed in the

transferee court. Did the Magistrate Judge clearly abuse her discretion when she

denied the motion to alter or amend the Transfer Order for lack of jurisdiction

over the case instead of requesting retransfer even though Garretson did not

move the Magistrate Judge to request the case be returned?

      III.   Whether Garretson established a clear and indisputable right to the

writ, that there is no other adequate means of attaining relief, and that the writ

is appropriate under the circumstances.




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                            FACTUAL BACKGROUND

          Plaintiff timely filed his initial BELO lawsuit bringing claims against BP

on January 30, 2023.1 That lawsuit was then voluntarily dismissed without

prejudice by stipulation with BP.2 Importantly, the dismissal preserved Mr.

Bryant's right to refile his claim. Mr. Bryant now seeks to re-litigate his BELO

claim.3 He timely submitted a new Notice of Intent to Sue on July 5, 2024, which

complies with the Deepwater Horizon Medical Benefits Class Action Settlement

Agreement (“MSA”).4 However, Garretson refused to process it, effectively

preventing Mr. Bryant from properly complying with the conditions precedent

as set out in the MSA. Therefore, in Mr. Bryant’s recent BELO lawsuit against

BP, he also sued Garretson for declaratory action and specific performance.5

          The MSA is a contract between BP Defendants and class members, to

which the Claims Administrator is an essential third party.6 The Claims

Administrator was a role created for a neutral third party to perform ministerial


1
 Complaint, Bryant v. BP Exp. & Prod., Inc., No. 23-CV-161 (E.D. La. Jan. 30, 2023), ECF
No. 1.
2
 See Respondent Bryant’s Exhibit 1 (Stipulation of Dismissal Without Prejudice, Bryant v.
BP Exp. & Prod., Inc., No. 23-CV-161 (E.D. La. Jan. 30, 2023), ECF No. 26).
3
 See Complaint, Bryant v. BP Expl. & Prod., Inc., No. 24-CV-2156 (E.D. La. Aug. 30, 2024),
ECF No. 1.
4
    Pet.’s App. 231.
5
    See Pet.’s Ex. 2.
6
 Pet.’s Ex. 1, Deepwater Horizon Medical Benefits Class Action Settlement Agreement, as
Amended on May 1, 2012, MDL 2179, Rec. Doc. 6427-1 (May 3, 2012).

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functions. Pursuant to the MSA, the Court appointed Garretson Firm

Resolution Group, Inc. d/b/a Garretson Resolution Group (“Garretson”) as the

Claims Administrator.7 Garretson exceeded the bounds of its designated

authority, infringing on Mr. Bryant’s right to sue BP for the injuries he sustained

from his Deepwater Horizon Oil Spill clean-up work. Therefore, as

aforementioned, Mr. Bryant, a Class Member as defined by the MSA, brought

claims against the Claims Administrator in his recent BELO Complaint.8

          Thereafter, on August 30, 2024, the Eastern District of Louisiana provided

public notice and the opportunity to comment regarding a proposed addition to

Local Rule 83.5.1.9 While the proposed local rule and public comments were

under consideration, Mr. Bryant brought added Garretson as a defendant in his

Second Amended Complaint.10 As discussed herein, the MSA allows for the

transfer of claims out of the Eastern District of Louisiana “consistent with the

Federal Rules of Civil Procedure,” and BELO cases are regularly transferred




7
    Pet.’s App. 130 (MSA XVIII.A.11).
8
    Pet.’s Ex. 2.
9
 Notice of Proposed Addition to the Local Rules for the U.S. District Court for the Eastern District of
Louisiana, E.D. La. (Aug. 30, 2024) https://www.laed.uscourts.gov/sites/default/files/pdfs
/PLR83-5.pdf.
 Pet.’s Ex. 2. The claims against Garretson were joined with claims against BP Exploration
10

& Production, Inc. and BP America Production Company.

                                                  3
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once plaintiffs provide certain disclosures.11 Thus, on December 30, 2024, Mr.

Bryant and BP filed a Stipulation Regarding Venue, requesting transfer to the

Southern District of Alabama because it is the most appropriate venue for Mr.

Bryant’s case.12 Said Stipulation notes that Garretson neither joined nor opposed

such.13 Garretson was served the same day. Four days later, on January 3, 2025,

Mr. Bryant’s case was transferred from the Eastern District of Louisiana to the

Southern District of Alabama.14

          A month later, on February 4, 2025, the Eastern District of Louisiana

amended its Local Rules to provide that transfers of cases to a district outside the

Fifth Circuit are stayed for twenty-one days from the date the transfer order is

entered on the docket.15 The Eastern District’s Local Rule 83.5.1 had not been

adopted when the Transfer Order was entered in Mr. Bryant’s case. Therefore,

the newly amended Local Rule 83.5.1 was not in effect or applicable. As a result,

it would be improper for Garretson to argue that the Eastern District of




 Pet.’s App. 075 (MSA VIII.G.1.c); see In re: Oil Spill by the Oil Rig “Deepwater Horizon” in the
11

Gulf of Mexico, on April 20, 2010, No. 2179, 2021 U.S. Dist. LEXIS 248281, at *31–32 (E.D.
La. Apr. 1, 2021) (Barbier, J.).
12
     Pet.’s Ex. 4.
13
     Pet.’s App. 239-40.
14
     Pet.’s Ex. 5. Although filed on January 3, 2025, the Order was dated January 2, 2025. Id.
15
     Order, (E.D. La. Feb. 4, 2025) (Brown, C.J.) (adding Local Rule 83.5.1 to the Local Rules).

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Louisiana failed to properly apply amended Local Rule 83.5.1 when issuing the

Transfer Order.

          On January 8, 2025, Mr. Bryant’s case was docketed in the Southern

District of Alabama.16 Following the entrance of the receipt of transfer and the

issuance of a Case Management Order in the Southern District of Alabama,

Garretson proceeded to file Motions to Dismiss17 and to Alter the Transfer Order

Judgment,18 in the Eastern District of Louisiana which no longer retained

jurisdiction. On January 30, 2025, the Magistrate Judge denied both motions for

lack of jurisdiction.19

          Garretson did not Object to the Magistrate Judge’s order or move for

reconsideration by the District Judge. Instead, Garretson waited; first it filed a

Motion to Dismiss in the Southern District of Alabama,20 then it filed a Motion

to Retransfer in the Southern District of Alabama.21 A few days later, Garretson

filed its Notice of Appeal.22 A couple more days later, it filed the instant Petition


16
     Pet.’s App. 243.
17
     Pet.’s Ex. 8.
18
     Pet.’s Ex. 7.
19
     Pet.’s Ex. 5.
 Motion to Dismiss and Memorandum in Support, Bryant v. BP Exp. & Prod., Inc., No. 1:25-
20

CV-10 (S.D. Ala. Feb. 12, 2025), ECF No.’s 28-29.
21
     Pet.’s Ex. 10.
22
  See Notice of Appeal, Bryant v. BP Expl. & Prod., Inc., No. 24-CV-2156 (E.D. La. Feb. 26,
2025), ECF No. 36.

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for Writ of Mandamus in the Fifth Circuit regarding the Eastern District of

Louisiana’s Order transferring the case to the Southern District of Alabama.23

                                     ARGUMENT
          Mandamus is unavailable to Garretson for three related reasons. First,

Garretson forewent the statutory available method of review of a magistrate

judge’s non-dispositive order. Second, the Magistrate Judge did not commit

clear error. She properly denied Garretson’s Motion to Alter/Amend the

Transfer Order based on a lack of jurisdiction and Garretson never moved for

the relief it seeks now below. Additionally, it was not clear error to transfer the

case when the MSA anticipates BELO cases will be transferred. Third, even if

Garretson could satisfy the first two elements for mandamus to issue, the writ is

inappropriate under the circumstances because the writ would not improve

consistence of outcomes, Garretson delayed in seeking review without

explanation, and mandamus would risk conflict between federal courts.

          Before addressing the merits of the Petition, the Court’s jurisdiction is an

antecedent question which the Court has a “special obligation to satisfy itself”

of its jurisdiction.24 This obligation must be satisfied before proceeding to the


23
     See generally Pet.
24
   In re Gee, 941 F.3d 153, 170 (5th Cir. 2019) (“[T]he Supreme Court has repeatedly
emphasized ‘the rule that Article III jurisdiction is always an antecedent question’ because
‘[h]ypothetical jurisdiction produces nothing more than a hypothetical judgment.’”) (quoting

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merits because, without jurisdiction, the Court “‘lack[s] power to adjudicate the

case’ and must dismiss it.”25 Federal courts may only hear ongoing cases or

controversies; they must dismiss cases when the party seeking relief from the

court receives all the relief requested outside of the court, the “federal court must

dismiss the case as moot.”26 This limits jurisdiction to cases where a decision

would have “continuing effects,” as federal judges “are not free to take up

hypothetical questions that pique a party’s curiosity or their own.”27

           Assuming that this Court has jurisdiction, mandamus, “one of ‘the most

potent weapons in the judicial arsenal,’” is an extraordinary remedy that may

only be issued if three conditions are satisfied.28 First, mandamus is only

appropriate if there is “no other adequate means to attain the relief” desired.29 A

party may not use mandamus “as a substitute for the regular appeals process.”30

Second, the petitioner must also establish a “clear and indisputable” right to the


Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 101 (1998)); id. at 159 (“[F]ederal courts are
under an independent obligation to examine their own jurisdiction . . . .”) (quoting FW/PBS,
Inc. v. City of Dallas, 493 U.S. 215, 231 (1990)).
25
  Goodrich v. United States, 3 F.4th 776, 778-79 (5th Cir. 2021) (first quoting Filer v. Donley, 690
F.3d 643, 646 (5th Cir. 2012); and then quoting Nat’l Football League Players Ass’n v. Nat’l
Football League, 874 F.3d 222, 225 (5th Cir. 2017)).
26
     FBI v. Fikre, 601 U.S. 234, 240 (2024).
27
     Id. at 241.
 Cheney v. U.S. Dist. Ct. for the Dist. of Colombia, 542 U.S. 367, 380 (2004) (quoting Will v.
28

United States, 389 U.S. 90, 107 (1967)).
29
     Id.
30
     Id. at 380–81.

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issuance of the writ.31 Finally, the court “must be satisfied that the writ is

appropriate under the circumstances.” 32 “[I]ssuance of the writ is in large part a

matter of discretion” of the court.33

           These conditions limit the availability of mandamus relief. And for good

reason. The limited availability of mandamus promotes “the fair and prompt

administration of justice [and] discourage[s] piecemeal litigation.”34 This

interest is consistent with Congressional policy “since the Judiciary Act of 1789

that as a general rule ‘appellate review should be postponed . . . until after final

judgment has been rendered by the trial court.”35 Resorting to extraordinary

writs risks thwarting this policy, and, therefore, “they may not be used to thwart

the congressional policy against piecemeal appeals.”36 “[J]udicial readiness to

issue the writ of mandamus in anything less than an extraordinary situation

would run the real risk of defeating the very policies sought to be furthered by

that judgment of Congress.”37




31
     Id. at 381.
32
     Id.
33
     Kerr v. U.S. Dist. Ct. for the N. Dist. of Cali., 426 U.S. 394, 403 (1976).
34
     Id.
35
     Id. (quoting Will, 389 U.S. at 96).
36
     See Chandler v. Judicial Council of Tenth Circuit, 398 U.S. 74, 114 (1970).
37
     Kerr, 426 U.S. at 403.

                                                     8
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I.        Garretson’s Failure to Exercise Available Avenues of Review Bars
          Mandamus.

          Garretson’s request for mandamus relief is nothing more than a tacit

request for Court to directly supervise the work of magistrate judges—

notwithstanding Congress’s decision to enact a statute that provides for district

judge supervision and review of magistrate judges’ work. The writ of mandamus

enables the Court to supervise a lower court within its jurisdiction,38 but it may

not be used to supervise a lower court when a statute provides a specific method

of review.39 Here, instead of utilizing the available methods of review of a

magistrate judge’s order, Garretson requests this Court directly monitor and

supervise the Magistrate Judge’s work.

          Federal law enables district judges to refer any pretrial matter pending

before the district court to a magistrate judge to either hear and determine or

submit a report and recommendation.40 Although the standard of review varies

depending on what pretrial matter was referred to the magistrate judge, a district




38
     See In re Volkswagen Am., Inc., 545 F.3d 304, 319 (5th Cir. 2008) (en banc).
 See In re Crystal Power Co., 641 F.3d 82, 83 & n.4 (5th Cir. 2011) (quoting Roche v. Evaporated
39

Milk Ass’n, 319 U.S. 21, 27–28 (1943)).
40
     See 28 U.S.C. § 636(b)(1)(A)–(B).

                                                  9
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judge must review the magistrate judge’s work when a party objects or requests

reconsideration of a magistrate judge’s order or report and recommendation.41

         When Congress expanded the role of magistrate judges under 28 U.S.C.

§ 636(b), Congress still sought to limit a magistrate judge’s authority. Congress

provided that a magistrate judge “acts subsidiary to and only in aid of the district

court. Thereafter, the entire process takes place under the district court’s total

control and jurisdiction.”42 “[I]t is the district court, not the court of appeals, that

must exercise supervision over the magistrate [judge].”43 Therefore, the Fifth

Circuit does not generally monitor or supervise the work of magistrate judges.44

Thus, when this Court has been faced with a petition for a writ of mandamus

over a magistrate judge’s order, it concluded that the first element necessary for


41
  See 28 U.S.C. § 636(b)(1)(A) (“A judge of the court may reconsider any pretrial matter under
this subparagraph (A) where it has been shown that the magistrate judge’s order is clearly
erroneous or contrary to law.”); § 636(b)(1)(C) (“A judge of the court shall make a de novo
determination of those portions of the report or specified proposed findings or
recommendations to which objection is made. A judge of the court may accept, reject, or
modify, in whole or in part, the findings or recommendations made by the magistrate
judge.”); see also Fed. R. Civ. P. 72(a) (“The district judge in the case must consider timely
objections” to magistrate judge’s nondispositive order.); Fed. R. Civ. P. 72(b)(3) (“The district
judge must determine de novo any part of the magistrate judge’s disposition that has been
properly objected to.”).
42
  In re Risby, No. 23-10743, 2023 U.S. App. LEXIS 23254, at *2 (5th Cir. Aug. 30, 2023)
(quoting United States v. Raddatz, 447 U.S. 667, 681 (1980)).
43
     Thomas v. Arn, 474 U.S. 140, 153-54 (1985).
44
  Risby, 2023 U.S. App. LEXIS 23254, at *2 (“[T]his court neither monitors nor supervises
the work of United States magistrate judges”); see also In re Nwosu, No. 24-20309, 2024 U.S.
App. LEXIS 30273, at *2–3 (5th Cir. Nov. 27, 2024) (“[T]his court neither monitors nor
supervises the work of United States magistrate judges to whom cases are referred under §
636(b).”).

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the writ to issue—no the adequate means to attain the requested relief—was only

satisfied given the petitioner “exhausted every other opportunity for

interlocutory review of the magistrate judge’s order.”45 Other circuits agree; a

party that did not first raise the issue to the district judge has an alternative means

of obtaining the relief requested and mandamus is unavailable.46

        Garretson’s failure to avail itself of the district judge’s authority in

supervision and review is fatal to its Petition. First, Garretson asks the Court to

supervise a magistrate judge when it is the district judge who must supervise the

magistrate judge.47 Second, review by a district judge provides an adequate

alternative means of obtaining the relief Garretson seeks.

        There are two possible exceptions to this rule, neither of which applies

here. First, mandamus may be available when the parties consented to the

magistrate judge conducting the proceedings under 28 U.S.C. § 636(c).48 Here,

45
  See In re Itron, Inc., 883 F.3d 553, 568 (5th Cir. 2018); see also id. at 557 (noting petitioner
“first lodged objections with the district court, but the district court overruled them on the
ground that the magistrate judge’s ruling was ‘not clearly erroneous.’”).
46
   See e.g., Cole v. United States Dist. Court for the Dist. of Idaho, 366 F.3d 813, 818–20 (9th Cir.
2004) (first citing Califano v. Moynahan, 596 F.2d 1320, 1321–22 (6th Cir. 1979); and then
citing United States v. Ecker, 923 F.2d 7, 8–9 (1st Cir. 1991)); see also In re Hill, 693 F. App’x
151, 153 (3d Cir. 2017).
47
  See Thomas, 474 U.S. at 153–54; see also Cole, 366 F.3d at 818 (“Were we to ignore this
simple and direct route open to petitioners for review of the disqualification order, we would
be improperly placing our court, rather than the district court, in the role of supervising the
magistrate judge’s decisions.”).
48
   See Cole, 336 F.3d at 818 n.8; see also Societe Nationale Industrielle Aerospatiale v. U.S. Dist. Ct.
for the S. Dist. of Iowa, 482 U.S. 522 (1987) (reviewing Eighth Circuit’s denial of writ of


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however, the parties did not knowingly and voluntarily consent to the

Magistrate Judge’s handling of the proceedings.49

          Second, a narrow exception exists if a district court’s reconsideration

would have been futile.50 For example, this narrow exception was satisfied when

a district court’s local rule authorized the magistrate judge to rule on a matter

which made it “unlikely that the district court would have granted relief on the

ground that the magistrate judge did not have jurisdiction to issue an order.”51

A hypothetical review by the district judge was also determined to be futile when

the magistrate judge’s decision was decided on the basis that the district judge

“already considered and rejected” the same arguments by the same defendant.52

The consequence of which was to allow the petitioner to simultaneously obtain




mandamus over magistrate judge’s order when the parties consented and the case was referred
to the magistrate judge under 28 U.S.C. § 636(c)(1)).
49
  See 28 U.S.C. § 636(c)(1) (“Upon the consent of the parties, a [magistrate judge] may
conduct any or all proceedings in a jury or nonjury civil matter and order the entry of
judgment in the case, when specially designated to exercise such jurisdiction by the district
court or courts he serves.”); see also IFG Port Holdings, L.L.C. v. Lake Charles Harbor & Terminal
Dist., 82 F.4th 402, 415–16 (5th Cir. 2023) (“Consent to a magistrate-judge referral—that is,
a waiver of the right to an Article III adjudication—also cannot be valid if it is not given
knowingly and intelligently.”) (citing Wellness Int’l Network, Ltd. V. Sharif, 575 U.S. 665, 685
(2015)). Absent from the judicial record is Mr. Bryant’s consent to proceeding as such.
50
     See Cole, 366 F.3d at 819 n.9 (discussing In re U.S. Healthcare, 159 F.3d 142 (3d Cir. 1998)).
51
     See In re U.S. Healthcare, 159 F.3d at 147.
52
     See In re BigCommerce, Inc., 890 F.3d 978, 980, 982 (Fed. Cir. 2018).

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mandamus in both the case in which it objected to the magistrate’s order and

the case where it directly sought mandamus.53

          Here, Garretson has not attempted to demonstrate requesting relief from

the district court would have been futile.54 No local rule would prevent the

district judge from requesting retransfer.55 And while this Court has noted the

expectation that circuit courts direct the district court to request the transferee

court return the case, that statement relates to the Court’s jurisdiction over the

case once it left the circuit’s jurisdiction and the balance between “the

jurisdictional powers of the separate circuits.”56 Mandamus, however, is a

“means of confining the inferior court to a lawful exercise of its prescribed

jurisdiction, or of compelling it to exercise its authority when it is its duty to do

so.”57 For that reason, a district court must have the authority to request a

retransfer for a circuit court to direct a district court to request retransfer through

the writ of mandamus. In addition, Garretson’s argument against transfer was

not already ruled on by the District Judge who would have reviewed its


53
     See id.
54
     See Pet. at 5 (noting district courts can request retransfer).
55
  See generally Eastern District of Louisiana Local Civil Rules, available at https://www.lae
d.uscourts.gov/sites/default/files/local_rules/2022%20CIVIL%20RULES%20LAED%20
w%20Amendment%202%204%2025.pdf.
56
  See Def. Distributed v. Platkin, 55 F.4th 486, 496 (5th Cir. 2022) (quoting Def. Distributed v.
Bruck, 30 F.4th 414, 424 (5th Cir. 2022)).
57
     Gee, 941 F.3d at 158 (quoting Ex parte Republic of Peru, 318 U.S. 578, 583 (1943)).

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objections.58 Therefore, if Garretson objected to the Transfer Order, then the

District Judge may have requested retransfer if Garretson’s arguments were

meritorious.

       That said, reconsideration of a magistrate judge’s non-dispositive order

under § 636(b)(1) is not available indefinitely. Objections must be filed timely or

they are waived.59 Garretson was required to object to the Magistrate Judge’s

Order within fourteen days of service to preserve its objections.60 Nevertheless,

the extraordinary writ of mandamus is not a backup plan to be resorted to after

a petitioner forewent the available means of obtaining relief such as seeking

reconsideration by the district judge or objecting to the magistrate judge’s

order.61 Even assuming arguendo that venue was improper, Garretson’s failure

to seek District Court review remains an independent bar to mandamus relief.

Thus, mandamus is unavailable to Garretson because it failed to pursue the



 See BigCommerce, 890 F.3d at 980, 982 (finding reconsideration by the district judge futile
58

where the district judge already addressed the petitioner’s same argument in a related case).
59
  See Fed. R. Civ. P. 72(a) (“A party may serve and file objections to the order within 14 days
after being served with a copy. A party may not assign as error a defect in the order not timely
objected to.”).
60
  See id.; see also Stancu v. Hyatt Corp./Hyatt Regency Dall., 791 F. App’x 446, 453 (5th Cir.
2019) (“[Appellant] did not object to the magistrate judge’s nondispositive sanction order.
This issue is therefore not preserved, and we do not address it.”).
61
  See Cole, 366 F.3d at 818; see also Hill, 693 F. App’x at 153; cf. In re Granados, No. 24-50683,
2025 U.S. App. LEXIS 519, at *3 (5th Cir. Jan. 9, 2025) (holding that “since an appellate
remedy was available . . . a remedy which [petitioner] chose to forego—he may not proceed
by way of mandamus.”).

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available, adequate alternative means of obtaining relief before resorting to a

Petition for writ of mandamus.

II.       The Magistrate Judge Did Not Abuse Her Discretion When She Denied
          Garretson Relief That It Never Requested.

          Petitioner appears to take issue with the Magistrate Judge failing to sua

sponte request the Southern District of Alabama retransfer the case when it noted

that the Magistrate Judge’s Order denying the Motion to Alter/Amend the

Transfer Order did not address “the appropriateness of a request for

retransfer.”62 But the motion before the Magistrate “request[ed] that the

[Magistrate Judge] alter or amend the Transfer Order to retain jurisdiction.”63

Garretson could have filed a motion that requested the Eastern District of

Louisiana request the Southern District of Alabama retransfer the case, but it

never did.64 A court neither errs nor abuses its discretion by failing to render

relief that was never requested.65 Therefore, the Magistrate Judge did not err or

abuse her discretion by failing to address relief that Garretson never sought.

III.      Garretson Failed to Satisfy its Burden for Obtaining Mandamus Relief.

62
     Pet. at 5.
63
     Pet.’s App. 244, 246.
64
     Id. at 244–246.
65
  See Diageo N. Am., Inc. v. Mexcor, Inc., 661 F. App’x 806, 812 (5th Cir. 2016) (“The district
court did not err when it was never asked to rule on this issue.”); Manax v. McNamara, 842
F.2d 808, 814 (5th Cir. 1988) (“The district court, as a result, hardly abused its discretion by
failing to allow an amendment on its own motion.”) (citing Coates v. Ill. State Bd. of Educ., 559
F.2d 445, 451 (7th Cir. 1977)).

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          A.      Garretson cannot show that it has no other adequate means to
                  obtain relief.

          This Court’s statement that the first requirement for mandamus relief—no

other adequate avenue for relief—is satisfied in the context of a motion to

transfer does not apply here.66 “[A] decision based on a certain set of facts should

not control the outcome of a later case with a factual context that the court

adjudicating the earlier case had no opportunity to consider.”67 No prior panel

has been presented with a petition for a writ of mandamus where the petitioner

forewent a statutorily available appeal to the district judge in the motion to

transfer context.68 As this Court is “always charry to create a circuit split,

including when applying the rule of orderliness,”69 this Court should hold that

the availability of an appeal to the district judge under 28 U.S.C. § 636(b)(1) is

an adequate, alternative remedy that renders the writ of mandamus unavailable

in accord with every circuit that has addressed the issue.70


66
     See e.g., In re Clarke, 94 F.4th 502, 516 (5th Cir. 2024).
67
  Kentucky v. Yellen, 67 F.4th 322, 330 (6th Cir. 2023) (Griffin, J., dissenting from denial of
rehearing en banc) (quoting Bryan Garner et al., The Law of Judicial Precedent 82 (2016)).
68
     See 28 U.S.C. § 636(b)(1).
 Martinelli v. Hearst Newspapers, L.L.C., 65 F.4th 231, 245 (5th Cir. 2023) (quoting Gahagan v.
69

United States Citizenship & Immigration Servs., 911 F.3d 298, 304 (5th Cir. 2018)).
70
  See United States v. Ecker, 923 F.2d 7, 9 (1st Cir. 1991) (holding argument that appeal of
magistrate judge’s order should be treated as a petition for mandamus failed to account “for
the near-absolute jurisdictional requirement that magistrates’ orders be reviewed in the first
instance by the district court.”); In re Hill, 693 F. App’x 151, 153 (3d Cir. 2017) (finding “an
adequate means of obtaining relief by seeking review [of magistrate judge’s order] in the

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          Petitioner asserts that it has no adequate appellate remedy because harms

associated with transfer “will already have been done by the time the case is tried

and appealed.”71 In the motion to transfer context, this Court has generally

recognized that there is no other available means to attain relief aside from

mandamus.72 That may be usually. But most of these cases involved transfer

orders issued by a district judge.73 In only one case did the court state that there

is no alternative avenue for relief in the motion to transfer context and review a


District Court”); Califano v. Moynahan, 596 F.2d 1320, 1322 (6th Cir. 1979) (“If the Secretary
conceived that the magistrate had overreached his powers, he should have moved the district
judge to vacate the order and directly consider the matter himself . . . .”); In re Lane, 801 F.2d
1040, 1042 (8th Cir. 1986) (holding petitioner had “an adequate remedy by which to attain
the desired relief” because the 28 U.S.C. § 636(b)(1)(A) provides for district court review);
Cole, 366 F.3d 813, 822–23 (9th Cir. 2004) (“When review of a decision of a magistrate judge
is available as a matter of right by motion for reconsideration before a district court, the
opportunity should be taken before extraordinary review by mandamus is sought.”); In re
Brunson, No. 22-11259, 2022 U.S. App. LEXIS 19043, at *3–4 (11th Cir. July 11, 2022)
(holding petitioner “had the adequate alternative remedy of filing timely objections to the
magistrate judge’s R&R”); In re Gonzalez, No. 21-14093, 2022 U.S. App. LEXIS 5415, at *5–
6 (11th Cir. Mar. 1, 2022) (noting if the court construed the appeal as a mandamus petition it
would be futile because the petitioner “has the adequate alternative remedy of raising its
argument that the magistrate judge exceeded its authority to the district court”).
71
     Pet. at 12 (quoting Volkswagen, 545 F.3d at 318–19) (citing Clarke, 94 F.4th at 516).
72
  See In re TikTok, Inc., 85 F.4th 352, 358 (5th Cir. 2023) (quoting In re Radmax, Ltd., 720 F.3d
285, 287 n.2 (5th Cir. 2013) (itself quoting Volkswagen, 545 F.3d at 318–19)); In re Fort Worth
Chamber of Commerce, 100 F.4th 528, 537 (5th Cir. 2024) (quoting TikTok, 85 F.4th at 358);
Clarke, 94 F.4th at 516.
73
   See Radmax, 720 F.3d at 290 n.12 (noting same district judge that denied transfer below
transferred a case under similar circumstances); Fort Worth Chamber of Commerce, 100 F.4th at
538 (vacating Chamber of Commerce v. Consumer Fin. Prot. Bureau, No. 24-cv-00213, 2024 U.S.
Dist. LEXIS 56003 (N.D. Tex. Mar. 28, 2024) (Pittman, Dist. J.) and ordering district court
to reopen the case); Clarke, 94 F.4th at 507 n.1 (noting the district judge was invited to respond
to the mandamus petition); Volkswagen, 545 F.3d at 308 (noting district court denied
Volkswagen’s transfer motion (citing Singleton v. Volkswagen of Am., Inc., No. 2-06-CV-222,
2006 U.S. Dist. LEXIS 65006 (E.D. Tex. Sept. 12, 2006) (Ward, Dist. J.))).

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magistrate judge’s transfer order, but there the district judge adopted the

magistrate judge’s ruling before the petition for writ of mandamus was filed.74

Likewise, the only cases where the Court granted the writ over a magistrate

judge’s order, mandamus was only sought after the district judge overruled

objections and adopted the magistrate judge’s order.75 Except for cases where

pro se petitioners sought the writ of mandamus and this Court held that

complaints about a magistrate judge’s rulings should be made before the district

judge, counsel was unable to find any cases where this Court was presented with

a petition for the writ of mandamus where the petitioner did not first exercise

the right to appeal to the district judge.76 And counsel is unable to identify any


74
   See TikTok, 85 F.4th at 357 & n.3–4 (“Because the district court adopted the magistrate
judge’s report in full, all references to the district court’s analysis are synonymous with
references to the magistrate judge’s recommended order.”).
75
    See In Rolls Royce, 775 F.3d 671, 674 n.4 (5th Cir. 2014) (“The district court originally
referred this motion to a magistrate judge, who recommended denying transfer. The district
court adopted the magistrate judge’s report, with only minor clarifications.”) (internal
citations omitted); In re Schlumberger Tech. Corp., 818 F. App’x 304, 306 (5th Cir. 2020)
(Petitioner “objected, but the district court overruled its objection in relevant part.”); In re
Spiros Partners, Ltd., 816 F. App’x 985, 986 (5th Cir. 2020) (“The district court overruled
Spiros’s objection to the magistrate judge’s order . . . .”); In re Terra Int’l, 134 F.3d 302, 303
(5th Cir. 1998) (“We conclude that Terra has failed to meet the above standard with respect
to its challenge to the district court’s order affirming the magistrate judge’s Production Orders.
. . . However, we conclude that Terra has met the standard with respect to the district court’s
order affirming the magistrate judge’s Sequestration Order.”); Itron, 883 F.3d at 557 (noting
petitioner “first lodged objections with the district court, but the district court overruled” the
objections).
76
  See e.g., Risby, 2023 U.S. App. LEXIS 23254, at *2–3 (“Any complaints Risby has regarding
the magistrate judge’s rulings must be made before the district court judge.”); Nwosu, 2024
U.S. App. LEXIS 30273, at *2–3 (“Complaints about the magistrate judge’s handling of a
case ordinarily should be directed to the district court judge.”).

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case where this Court granted mandamus over a magistrate judge’s order where

the petitioner could have appealed to the district judge but did not do so first.

       As explained above, Congress created a method for review of magistrate

judge orders by district judges.77 Garretson never attempted to utilize this

method of review in the District Court. Therefore, the Court should deny

Garretson’s Petition for a writ of mandamus because an adequate alternative

means of relief exists and Garretson chose not to pursue it.

       B.      The plain language of the Medical Settlement Agreement
               anticipates and permits venue transfer.
       The MSA does not prohibit the transfer of Mr. Bryant’s claims against

Garretson. The MSA plainly states that nothing therein “should be interpreted

to preclude naming or joining any OTHER PARTY as a defendant in a BACK-

END LITIGATION OPTION LAWSUIT . . . .”78 Garretson, the Claims

Administrator, is considered an Other Party and was therefore subject to being

named in Plaintiff’s BELO lawsuit.




77
  See Risby, 2023 U.S. App. LEXIS 23254, at *2–3 (“Congress made clear that . . . the
magistrate [judge] acts subsidiary to and only in aid of the district court. Thereafter, the entire
process takes place under the district court’s total control and jurisdiction.”) (quoting Raddatz,
447 U.S. at 681) (alterations in original).
78
  See Pet.’s App. 075 (MSA VIII.G.1.d); see also id. at 033 (MSA II.XXX) (“OTHER PARTY
shall mean every person, entity, or party other than the RELEASED PARTIES”). Notably,
the Claims Administrator is not included in the definitions of either RELEASED PARTIES
(MSA II.MMMM) or OTHER RELEASED PARTIES (See Pet.’s App. 033 (MSA II.ZZZ)
and Respondent Bryant’s Exhibit 2, MSA Exhibit 6).

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           The MSA provides that a BELO lawsuit must first be filed in the Eastern

District of Louisiana.79 The MSA also clearly states that nothing within it “is

intended to preclude a subsequent transfer of venue of such lawsuit to a different

United States District Court.”80 For that reason, Mr. Bryant initially filed his

lawsuit in the Eastern District of Louisiana and, in alignment with the MSA’s

provisions, his case was transferred out to the Southern District of Alabama.

           The MSA further provides that the MDL court “retains continuing and

exclusive jurisdiction over the PARTIES, the MEDICAL BENEFITS

SETTLEMENT CLASS MEMBERS and this MEDICAL SETTLEMENT

AGREEMENT, to interpret, implement, administer and enforce the

MEDICAL SETTLEMENT AGREEMENT in accordance with its terms.”81

Yet, Judge Barbier’s Case Management Order 1 (CMO 1) states that “No later

than one hundred and twenty (120) days after the date of filing of an individual

BELO complaint, counsel for all parties in that action must jointly file in the

record a written statement …” either stipulating that the case should remain in

the Eastern District of Louisiana, that the case should be transferred to another

particularly identified United States District Court for further proceedings, or, if



79
     Pet.’s App. 075 (MSA VIII.G. 1. C).
80
     Id.
81
     Pet.’s App. 130 (MSA XVIII(A)(13)).

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no agreement is reached, both sides must file motions to transfer venue.82 This

is because “the parties through their settlement agreement … resolved the

principal common issues that were the basis for including these claims in MDL

No. 2179.”83 Thus, simply because the MDL Court maintains jurisdiction to

interpret and enforce the MSA, and maintains jurisdiction “through and after

the EFFECTIVE DATE,”84 reading the MSA as a whole does not create the

implication that the transfer of actions naming Garretson as an additional

defendant in an individual BELO lawsuit may not be permitted to be transferred

outside of the Eastern District of Louisiana.

           Taking Garretson’s position to its logical conclusion, all BELO cases that

rely on similar stipulations would be forced to remain in the Eastern District of

Louisiana regardless of whether venue is proper.85 However, Judge Barbier

routinely transfers BELO cases to other district courts because common MDL

issues of law and fact no longer predominant over the issues presented in



 See Respondent Bryant’s Exhibit 3 (BELO Cases Initial Proceedings Case Management
82

Order, In Re: Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico on April 20, 2010,
No. 2:10-md-02179 (E.D. La. Jan. 30, 2015), ECF No. 14099), at 6.
83
     Id. at 1.
84
     Pet.’s App. 136 (MSA XXI.A.5).
85
  See Pet.’s App. 007 (“[T]he Court retains continuing and exclusive jurisdiction over the
Parties, the Medical Benefits Settlement Class Members and this Medical Benefits Class
Action Settlement Agreement, to interpret, implement, administer and enforce the Medical
Benefits Class Action Settlement Agreement in accordance with its terms.”); see also id. at 130,
187 (similar).

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individual claims. In fact, approximately two-thirds of BELO lawsuits have been

transferred to another district.86

          The transfer of Mr. Bryant’s case conformed to the provisions of the

MSA’s supposed “forum selection clause” which determines the place of initial

filing to avoid the need for a notice of tag-along and transfer by the Judicial

Panel on Multidistrict Litigation. The Magistrate Judge acted within her

discretion when she entered the Transfer Order sending Mr. Bryant’s case to the

Southern District of Alabama and when she denied Garretson’s Motion to

Alter/Amend the Transfer Order.87, 88 Garretson disagrees with such, however,

“the most that could be claimed is that the district courts have erred in ruling on

matters within their jurisdiction.”89 Such alleged errors should have been taken

up in the district court itself, not through a writ of mandamus.




86
  See In re: Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010, No.
2179, 2021 U.S. Dist. LEXIS 248281, at *31–32 & n.14 (E.D. La. Apr. 1, 2021) (Barbier, J.)
(noting “[a]round 2,400 BELO cases were transferred to another venue/district for further
proceedings, while approximately 1,200 remained in this district” after BELO plaintiffs filled
out a plaintiff profile form and produced certain documents).
87
  See In re Garcia, No. 24-10798, 2025 U.S. App. LEXIS 997, at *2 (5th Cir. Jan. 14, 2025)
(“[T]he writ will not issue to correct a duty that is to any degree debatable: the trial court must
be acting beyond its jurisdiction or in a fashion about which discretion is denied it.”) (quoting
United States v. Denson, 603 F.2d 1143, 1147 n.2 (5th Cir. 1979) (en banc)).
88
  Pet.’s App. 255–56 (applying precedent to determine that the instant court no longer had
jurisdiction over the transferred claims).
89
     See Chandler, 398 U.S. at 114.

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       Moreover, courts sitting in general maritime law jurisdiction prefer to

keep related actions together in a single proceeding in one court rather than

splitting them into different proceedings across multiple venues as it is more

convenient and cost-efficient for the court to adjudicate the issues in one fell

swoop.90 Bifurcation of Mr. Bryant’s claims in different courts would impose

additional costs and logistical burdens, in addition to creating unnecessary

inefficiency and risk inconsistent rulings. After all, Mr. Bryant sued Garretson

for blocking his access to sue BP. Mr. Bryant’s causes of action are directly

related and should not be separated.

       Garretson’s Petition for writ of mandamus, if granted, could potentially

result in precisely the kind of bifurcated proceedings that courts seek to avoid by

creating a scenario where the claims against BP would proceed in the Southern

District of Alabama, but the claims against Garretson would be transferred back

to the Eastern District of Louisiana despite both sets of claims arising from the

same transaction or occurrence. Such a scenario would run counter to the

judicial preference for resolving related claims in a single proceeding. Thus, the

interests of justice and efficiency weigh heavily against granting the requested

writ of mandamus.



90
  See Tex. Gulf Sulphur Co. v. Blue Stack Towing Co., 313 F.2d 359, 363–64 (5th Cir. 1963) (“All
of these can be resolved in one proceeding at one time.”).

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          C.      The writ is not appropriate under the circumstances.
                  1.     Issuing the writ will not clarify the law.

          Although the circumstances that warrant mandamus include “when the

issues also have an importance beyond the immediate case,”91 “[m]andamus is

not a mechanism for addressing hypothetical erroneous rulings in future

cases.”92 Thus, the Court should decide whether the case presents a common

error that results in conflicting outcomes and whether granting mandamus will

improve the consistency of outcomes.93

          Here, granting Garretson’s writ will not increase the consistency of

outcomes in the motion to transfer context. Distinct factual issues in a case

provide that resolving an issue “will be of minimal ‘importance beyond [the]

case.’”94 Garretson’s Petition presents a rare factual issue that is unlikely to be

of direct importance beyond this case. The Petition does not allege a complex

legal issue that has potential to confuse lower courts and result in inconsistent

outcomes. Rather, it alleges a unique factual error—an alleged “misreading of a




91
     Volkswagen, 545 F.3d at 319.
92
     In re Jefferson Par., 81 F.4th 403, 417 (5th Cir. 2023).
 See TikTok, 85 F.3d at 367 (noting the Federal Circuit recently reached conflicting decisions
93

while applying Fifth Circuit law).
 See In re Beazley Ins. Co., No. 09-20005, 2009 U.S. App. LEXIS 29463, at *22-24 (5th Cir.
94

May 4, 2009).

                                                   24
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stipulation.”95 It is unclear how often Garretson believes that federal courts

misread stipulations. However, it is difficult to believe that such errors are

frequent. Moreover, it is uncertain how mandamus in this case would prevent

courts from misreading or misunderstanding parties’ submissions in other cases.

       Similarly, it is unlikely that a similar scenario will occur in the future. This

is the first time that Garretson was sued due to the specific conduct alleged in

the Complaint as the Deepwater Horizon Claims Administrator, a position that

Garretson has held for approximately fifteen years. Further, if an error occurred,

the Eastern District of Louisiana’s new Local Rule 83.5.1 would provide time

for the district court to determine if the transfer order was in fact based on a

misreading or misunderstanding.96

              2.      The writ is unwarranted because Garretson was not diligent.

       “A court of appeals should consider directing that the transferor district

court request return of the case only where the case has been transferred ‘despite

the petitioner’s diligence.’”97 Even when the case was transferred before it was

possible to seek review of a transfer order, mandamus is only warranted if the


95
  See Pet. at 5, 8; see also id. at 10–11 (“misunderstanding of a venue statement”); id. at 11
(“misunderstanding the stipulation”).
96
  See E.D. La. L.R. 83.5.1. The majority of other districts within the Fifth Circuit have similar
rules. See N.D. Tex. L.R. 62.2; E.D. Tex. L.R. 83(b); Gen. Ord. 2024-2 (S.D. Tex. Feb. 2024);
Local Uniform Civ. R. 52(c) (adopted by both N.D. Miss. And S.D. Miss.).
97
  In re Red Baron Motors, Inc., 794 F.3d 481, 485 (5th Cir. 2015) (quoting In re Warrick, 70 F.3d
736, 740 (2d Cir. 1995)).

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petitioner was diligent in exercising an available “fair opportunity to seek

review.”98 Therefore, waiting three months before filing a petition for review will

render mandamus unavailable.99 However, where a petitioner filed a notice of

appeal the day after the transfer order was issued, it promptly sought relief and

placed all parties and the district court on notice of its intent to challenge the

transfer order which demonstrated the petitioner’s diligence.100

          Here, Garretson was not diligent in seeking review of the Transfer Order.

It never challenged the Transfer Order before the District Judge. Further,

Garretson waited fifty-four days between the docketing of the Transfer Order

and the filing of its Notice of Appeal and fifty-six days between the docketing of

the Transfer Order and filing its Petition. Moreover, after Mr. Bryant’s case was

docketed in the Southern District of Alabama, Garretson waited forty-nine days

to file its Notice of Appeal and fifty-one days to file its Petition. To be sure, less

time passed between the Order denying Garretson’s Motion to Alter/Amend

the Transfer Order and filing its Notice of Appeal and Petition for Writ of

Mandamus. But still Garretson waited almost a month after that Order before it



98
     Id. at 485 & n.9.
99
     Id. at 485.
100
   See Bruck, 30 F.4th at 425; see also id. at 424 (noting “the notice of appeal was filed the day
after the district court’s order and mandamus relief formally sought within thirty-nine days
while briefing was underway.”).

                                               26
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sought further review.101 Worse, because Garretson failed to object to the

Magistrate Judge’s Order denying the Motion to Alter/Amend the Transfer

Order within fourteen days, neither Mr. Bryant nor the district court were on

notice that Garretson intended to further challenge the Transfer Order.102 To

date, Garretson failed to offer any reason for its delay in seeking further review.

                  3.     Granting relief would undermine judicial efficiency and risk inter-
                         circuit conflict.

          This is not a “very extreme case” where mandamus should be used to

undo a completed inter-circuit transfer because it risks provoking a conflict

between the circuits. The Court should exercise its power to direct the lower

court to request retransfer of a case only in “a very extreme case” to avoid

friction with other federal courts.103 The risk of friction is reduced when the

transferee court stays proceedings pending the mandamus petition.104

Additionally, “[c]ourts ‘prophylactically refus[e] to hear a case raising issues that

might substantially duplicate those raised by a case pending in another


  After the Order denying the Motion to Alter/Amend the Transfer Order, Garretson waited
101

twenty-seven days before filing its Notice of Appeal and twenty-nine days before filing its
Petition for Writ of Mandamus.
102
   See Fed. R. Civ. P. 72(a) (“A party may serve and file objections to the order within 14
days after being served with a copy. A party may not assign as error a defect in the order not
timely objected to.”); see also Bruck, 30 F.4th at 425 (noting notice of appeal filed the day after
the transfer order immediately placed the parties and the district court of petitioner’s “intent
to challenge the transfer in this court”).
103
      See Bruck, 30 F.4th at 424 (quoting Red Baron, 794 F.3d at 484).
104
      See id. (citing Red Baron, 794 F.3d at 484).

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court.’”105 The purpose is to “‘maximize’ ‘the values of economy, consistency,

and comity.’”106

          Here, the risk of friction is palpable. The case in Alabama has not been

stayed.107 Garretson has a motion to retransfer pending in the Southern District

of Alabama.108 That retransfer motion has been fully briefed and was referred to

the district judge in the case on March 17, 2025. If the district court in the

Southern District of Alabama denies the motion, Garretson could seek review

in the Eleventh Circuit or even reconsideration by the district court judge.109 This

presents a real risk of “provoking a possible conflict between the Circuits.” 110

And there is more. If the Southern District of Alabama grants the motion to

retransfer, then Garretson’s Petition is moot. Thus, the Petition asks for relief




105
   Platkin, 55 F.4th at 494 (quoting Cadle Co. v. Whataburger of Alice, Inc., 174 F.3d 599, 604
(5th Cir. 1999)).
106
      Id. (quoting Cadle, 174 F.3d at 604).
107
   See Bruck, 30 F.4th at 424 (“[I]ntercircuit friction was reduced where the transferee court
there, as here, stayed proceedings pending our appellate panel's decision.”) (citing Red Baron,
794 F.3d at 484).
108
      Pet. at 6; Pet.’s App. 257.
109
   See Roofing & Sheet Metal Servs., Inc. v. La Quinta Motor Inns, Inc., 689 F.2d 982, 989 (11th
Cir. 1982) (noting the court would have jurisdiction to review a motion to retransfer on
appeal); see also Grayson v. K Mart Corp., 79 F.3d 1086, 1094 n.8 (11th Cir. 1996) (noting
transfer orders are reviewable through mandamus).
110
   See Red Baron, 794 F.3d at 484 (quoting In re Sw. Mobile Homes, Inc., 317 F.2d 65, 66–67
(5th Cir. 1963)).

                                                   28
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that it may receive regardless of this Court’s ruling; at the same time, it asks the

Court for a ruling which invites conflict between the Circuits.

                                 CONCLUSION
      Garretson’s Petition fell below what is necessary to show an entitlement

to the writ of mandamus. It failed to establish that it was a clear abuse of

discretion to transfer the case when nothing in the MSA prevents a BELO

lawsuit from being transferred, and Mr. Bryant’s claims against Garretson were

joined with his BELO lawsuit. And the circumstances counsel against exercising

the Court’s discretion to grant the writ—assuming the other conditions were

satisfied—because granting the writ would not increase consistency of

outcomes, Garretson delayed in seeking this Court’s review without

explanation, and the Petition is duplicative of a Motion before another court

which risks a conflict between federal courts. Above all, Garretson had the

opportunity to ask the District Judge for the same relief which it seeks in its

Petition but chose not to exercise the statutorily available avenue to seek

recourse for the allegedly erroneous transfer.

      THEREFORE, the Court should deny Garretson’s Petition.

Dated: March 24, 2025

                                      Respectfully Submitted,

                                      /s/ C. David Durkee
                                      C. David Durkee, Esq.
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                    CERTIFICATE OF COMPLIANCE

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                                    /s/ C. David Durkee
                                    C. David Durkee, Esq.

                                    Attorney for Respondent, Percy Bryant, Jr.




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                         CERTIFICATE OF SERVICE

      On March 24, 2025, a true and correct copy of the foregoing was filed with

the Clerk of this Court using the electronic case filing (ECF) system of the U.S.

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                                                 /s/ C. David Durkee
                                                 C. David Durkee, Esq.

                                                 Attorney for Respondent, Percy
                                                 Bryant, Jr.




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